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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
  MPR:GMP                                           271 Cadman Plaza East
  F. #200901065                                     Brooklyn, New York 11201



                                                    February 7, 2020

  By FedEx

  Marc Fernich, Esq.
  800 Third Avenue, Floor 18
  New York, New York 10022

                Re:    United States v. Joaquin Archivaldo Guzman Loera
                       Criminal Docket No. 09-466 (S-4) (BMC)

  Dear Mr. Fernich:

                Enclosed please find the unredacted documents that you requested via letter
  dated January 31, 2020 (Dkt. 665).

                 Please note that several of the enclosed documents remain under seal on the
  public docket, per the Court’s order, and have not been unsealed to the public. Please take
  precautions to observe the Court’s order with regard to those documents that remain sealed
  when you prepare and file the defendant’s appellate submission.

                                                    Very truly yours,

                                                    RICHARD P. DONOGHUE
                                                    UNITED STATES ATTORNEY
                                                    Eastern District of New York
                                                    271 Cadman Plaza East
                                                    Brooklyn, New York 11201

                                                    MARLON COBAR, ACTING CHIEF
                                                    Narcotic and Dangerous Drug Section
                                                    Criminal Division,
                                                    U.S. Department of Justice
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                                            OF COUNSEL:

                                            ARIANA FAJARDO ORSHAN
                                            UNITED STATES ATTORNEY
                                            Southern District of Florida


  cc: Clerk of Court (BMC) (by ECF)




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